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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
 -------------------------------------------------------x

 DEUTSCHE BANK NATIONAL TRUST CO.,

                  Plaintiff,

         -v-                                                   No. 14CV3020-LTS-AJP

 MORGAN STANLEY MORTGAGE CAPITAL
 HOLDINGS LLC,

                  Defendant.

 -------------------------------------------------------x

                                    MEMORANDUM OPINION AND ORDER

                  Plaintiff Deutsche Bank National Trust Company (“Trustee” or “Plaintiff”), in its

 capacity as Trustee for the Morgan Stanley Structured Trust I 2007-1 (the “Trust”), brings this

 action against Defendant Morgan Stanley Mortgage Capital Holdings LLC (“MSMC” or

 “Defendant”), asserting claims for breach of contract and breach of the covenant of good faith

 and fair dealing. MSMC now moves, pursuant to Federal Rule of Civil Procedure 12(b)(6), to

 dismiss the complaint for failure to state a claim upon which relief can be granted. The Court

 has jurisdiction of this action pursuant to 28 U.S.C § 1332. The Court has considered the

 parties’ submissions carefully. For the reasons stated below, the Court grants in part, and denies

 in part, Defendants’ motion.



                                                 BACKGROUND1

                  This action arises from a transaction in which MSMC served as the sponsor of a

         1
                  The facts recited herein are drawn largely from the Complaint in this action.
                  (Docket Entry No. 2.)
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 residential mortgage-backed securitization. (Compl. ¶ 1.) MSMC and EMC Mortgage

 Corporation sold a pool of 4,374 mortgage loans, with an aggregate principal balance of

 approximately $735,000,000, to Bear Stearns Asset Backed Securities I LLC, pursuant to the

 terms of a Mortgage Loan Purchase Agreement (“MLPA”). (Compl. ¶¶ 1, 13 and Ex. 1.) Bear

 Stearns agreed to deposit the loans into a trust (the “Trust”), for which Plaintiff was to serve as

 Trustee. (Id. ¶¶ 14-15.) Bear Stearns and Plaintiff, along with Wells Fargo Bank, entered into a

 Pooling and Servicing Agreement (“PSA”) in order to create the Trust. (Id. ¶ 15 and Ex. 2.)

 Both the MLPA and the PSA had a closing date of July 6, 2007. (Id. ¶ 15.) The loans served as

 collateral for securities, called certificates, issued by the Trust. (Id. ¶ 10.) Certificates generate

 cash flow as borrowers make payments on loans in the Trust; thus, the value of the certificates

 depends largely on the quality of the loans in the pool. (Compl. ¶¶ 10-11.)

                As the sponsor of the securitization, MSMC was obligated to provide

 certificateholders with an extensive set of representations and warranties attesting to the quality

 of the loans and creditworthiness of the borrowers. (Id. ¶¶ 19-21; Ex. 1., MLPA § 10.) MSMC

 also committed itself to bearing the risk should any of the loans fail to meet the minimum quality

 standards guaranteed in the representations and warranties. (Id. ¶ 23.) The parties to the MLPA

 agreed that, if any of the loans were found to have breached the representations and warranties,

 MSMC would be obligated to cure such breaches or repurchase the affected loans in order to

 make the Trust whole. (Id. ¶¶ 27-28; Ex. 1, MLPA § 10.) A subset of the loans was originated

 by an entity known as Accredited Home Lenders, Inc. (“Accredited”). (Id. ¶ 33.) According to

 the Trustee, representations and warranties made by Accredited were incorporated by reference

 into the MLPA (See MLPA § 10), and MSMC assumed the responsibility of curing or



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 repurchasing any defective Accredited-originated loans that Accredited fail to cure. (See Compl.

 ¶ 34; Ex. 1, MPLA § 10.)

                The mechanism for remedying a breach of the representations and warranties,

 referred to as the “repurchase protocol,” operated in two steps. First, the party discovering the

 breach was to provide prompt written notice of the defective loans to the other parties to the

 transaction. (Compl. ¶ 29; Ex. 1, MLPA § 10.) Receipt of notice by MSMC triggered a 90-day

 period within which MSMC was obligated to cure or repurchase the defective loans. (Id. ¶¶ 31-

 32; Ex. 1, MLPA § 10.) Should MSMC fail to cure, the Trustee was empowered by the PSA to

 enforce MSMC’s obligations through legal action. (Id. ¶ 37; Ex. 2, PSA § 2.02(d).)

                On April 4, 2013, the Trustee sent a letter to MSMC enclosing an April 2, 2013,

 breach notice from a certificateholder that identified allegedly material breaches in 1,620 loans.

 (Compl. ¶ 47; Ex. 3.) Of these loans, approximately 300 had been originated by Accredited.2

 (Id. ¶ 48.) A forensic analysis had allegedly revealed several types of material breaches

 permeating the loan pool, including, inter alia: income misrepresentation, misrepresentation of

 debt obligations, employment misrepresentation, impermissible debt-to-income ratios,

 misrepresentations of occupancy and lack of arms-length transactions. (See id. ¶¶ 49-59.)

 Plaintiff further alleges that MSMC had previously performed extensive due diligence review of

 the loans that would necessarily have alerted MSMC to deficiencies permeating the loan pool.

 (Compl. ¶¶ 61-63.)



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               Accredited was copied on the breach notice sent to the Trustee on April 3, 2013,
               concerning defective Accredited loans. On April 8, 2013, Accredited’s counsel sent
               a response indicating that the company had filed for bankruptcy and distributed its
               assets, leaving it unable to cure or repurchase any defective loans. (See Compl. ¶
               48.)
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                By the time that MSMC’s 90-day cure or repurchase period expired on July 3,

 2013, MSMC had failed to cure or repurchase any of the allegedly defective loans. (Id. ¶ 67.)

 MSMC has since repurchased 149 of the loans. (Id.) On April 28, 2014, Plaintiff filed suit,

 seeking to enforce MSMC’s cure or repurchase obligations. Plaintiff also seeks damages to the

 extent that repurchase of the defective loans is insufficient to provide the Trust with the

 economic benefit of its bargain. (Compl. ¶ 69.)



                                              DISCUSSION

 Motion to Dismiss Standard

                When deciding a Rule 12(b)(6) motion to dismiss a complaint for failure to state a

 claim, the Court assumes the truth of the facts asserted in the complaint and draws all reasonable

 inferences from those facts in favor of the plaintiff. See Harris v. Mills, 572 F.3d 66, 71 (2d Cir.

 2009). To survive a motion to dismiss, “a complaint must contain sufficient factual matter,

 accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556

 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). “A claim

 has facial plausibility when the plaintiff pleads factual content that allows the court to draw the

 reasonable inference that the defendant is liable for the misconduct alleged.” Iqbal, 556 U.S. at

 678 (citing Twombly, 550 U.S. at 556). If the plaintiff has not “nudged [its] claims across the

 line from conceivable to plausible, [the] complaint must be dismissed.” Twombly, 550 U.S. at

 570.

                 In evaluating a Rule 12(b)(6) motion to dismiss, a court may consider “only the

 complaint and any documents attached thereto or incorporated by reference and documents upon

 which the complaint relies heavily.” Building Indus. Elec. Contractors Ass’n v. City of New

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 York, 678 F.3d 184, 187 (2d Cir. 2012) (citing In re Citigroup ERISA Litig., 662 F.3d 128, 135

 (2d Cir. 2011) (internal quotation marks omitted)). In deciding this motion, the Court has

 considered, in addition to the Complaint, the breach notice letter, the MLPA, the PSA and the

 exhibits attached to those documents. All of these documents were attached to, and are integral

 to the allegations of, the Complaint, and their authenticity is undisputed by the parties. See Fed.

 R. Civ. P. 10(c) (a written instrument that is an exhibit to a pleading is a part of the pleading for

 all purposes). See also, Chambers v. Time Warner, Inc., 282 F.3d 147, 153 (2d Cir. 2002) (a

 document is deemed integral to the complaint when it “relies heavily upon its terms and

 effect.”).

                  In addition, when analyzing a complaint for breach of contract at the motion to

 dismiss stage, courts must bear in mind that “if a contract is ambiguous as applied to a particular

 set of facts, a court has insufficient data to dismiss a complaint for failure to state [a] claim.”

 Bayerische Landesbank, N.Y. Branch v. Aladdin Capital Mgmt. LLC, 692 F.3d 42, 56 (2d Cir.

 2012) (internal quotation marks and citation omitted).



 Timeliness of Plaintiff’s Action With Respect to Loans Not Specified in the Breach Notice

                  MSMC first argues that, because Plaintiff failed to comply with the notice

 requirement of the repurchase protocol with respect to any loans other than the 1,620 identified

 in its breach notice letter, any claims respecting loans beyond those 1,620 must be dismissed as

 untimely. (See MSMC Memo at 7-8.) The parties debate at some length whether the breach

 notice requirement is a “condition precedent” to filing suit under the contract. The Court need

 not, however, decide this question, as it finds that Plaintiff’s letter gave adequate notice with

 respect to breaching loans beyond the 1,620 specifically mentioned.

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                The breach notice unquestionably identified 1,620 of the 4,374 loans in the Trust

 as defective. In its opposition papers, Plaintiff characterizes the notice as identifying “an

 extraordinary breach rate that clearly indicates systemic problems throughout the broader pool.”

 (See Plaintiff’s Memo p. 17; see also Compl. ¶ 1 and Ex. 3.) Plaintiff indicated in its letter that

 its repurchase request “reflect[ed] only current findings” and that its review of the loan pool was

 ongoing. (Compl., Ex. 3.) Plaintiff argues that, given the pervasive nature of the breaches

 identified and the notice’s indication that review was ongoing, MSMC was put on notice of a

 more extensive range of defective loans within the Trust. Courts in this district have reached

 conclusions consistent with Plaintiff’s position. In Assured Guaranty Municipal Corp. v.

 Flagstar Bank FSB, Judge Rakoff reaffirmed his prior holding that, “by informing [Defendant]

 of pervasive breaches affecting the charged off loans with its January 2009 repurchase demand

 [the Plaintiff had ] rendered [Defendant] constructively ‘aware’ – or, at a minimum, put

 [Defendant] on inquiry notice – of the substantial likelihood that these breaches extended beyond

 the charged off loan population and into the broader loan portfolio.” 920 F. Supp. 2d 475, 512-

 13 (S.D.N.Y. 2013). MSMC attempts to distinguish this case by noting that Assured Guarantee

 was not a trustee repurchase case. However, judges in this district have cited Judge Rakoff’s

 reasoning in cases directly analogous to the one at bar. See, e.g., Deutsche Alt-A Securities

 Mortg. Loan Trust, Series 2006-OA1 v. DB Structured Products, Inc., 958 F. Supp. 2d 488, 497

 n.3 (S.D.N.Y. 2013) (“Deutsche Alt-A”) (denying motion to dismiss claims as to loans not

 enumerated in breach notices and observing: “[i]n [Assured Guaranty], the court went on to note

 that because of the material uniformity of the underlying loan population, plaintiff’s notification

 to defendant of ‘pervasive breaches’ affecting the loans was sufficient to render the defendant

 ‘constructively aware-or, at minimum put [defendant] on inquiry notice of the substantial

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 likelihood that these breaches extended beyond’ the specified loans into the ‘broader loan

 portfolio.’ The court therefore allowed claims to remain as to loans which were not the subject

 of previous notices to the defendant.”). The Court likewise finds that the Complaint, which

 incorporates the notification letter by reference, sufficiently pleads constructive notice of the

 additional breaches. Moreover, because the MLPA also imposed an affirmative obligation on

 MSMC to give notice of and cure breaches upon discovery of the breaches, the letter defect rate

 documented in the breach letter may support an inference that MSMC already had knowledge of

 the representation and warranty breaches based on its due diligence activities at the initiation of

 the Trust. (See Compl. ¶¶ 60-66.) Defendants’ motion is denied insofar as it seeks dismissal of

 Plaintiff’s claims relating to defective loans not specifically identified in the breach notice letter.



 The Accredited Loans

                 MSMC further argues that The Trustee’s claims with respect to the loans

 originated by Accredited must be dismissed because: (1) MSMC has no obligation to cure or

 repurchase such loans; and (2) even if MSMC had such an obligation, The Trustee’s claims are

 time-barred.

                 MSMC’s Obligation to Cure or Repurchase Accredited Loans

                 MSMC disputes the Trustee’s assertion that section 10 of the MLPA obliges

 MSMC to repurchase defective loans that were originated by Accredited. According to MSMC,

 Section 10 of the MLPA provides that MSMC must only cure or repurchase “MSMCH

 Represented Mortgage Loans,” which are defined in Section One of the MLPA as “[a]ny

 Mortgage Loan . . . originated by Aames Capital Corporation, Aegis Mortgage Corporation,

 Decision One Mortgage Company, LLC, First NLC Financial Services, LLC, MILA, Inc., New

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 Century Mortgage Corporation, Option One Mortgage Corporation or Wilmington Finance Inc.”

 (See Compl., Ex. 1, §§ 1, 10.) MSMC asserts that, “[t]his definition plainly excludes Accredited

 Mortgage Loans.” (MSMC Memo at p. 16.) MSMC makes a textual argument focused on the

 language of Section 10 of the MLPA, which provides in pertinent part:

                With respect to any Accredited Mortgage Loan, reference is made to the
                Accredited Assignment, Assumption and Recognition Agreement attached hereto
                as Exhibit 8. In the case of any such breach of a representation or warranty set
                forth in this Section 10 made by Accredited with respect to an Accredited
                Mortgage Loan, in the event Accredited fails to cure, substitute or repurchase an
                Accredited Mortgage Loan within the period specified in the Accredited
                Assignment, Assumption and Recognition Agreement, [Morgan Stanley Capital]
                will cure, substitute or repurchase such Accredited Mortgage Loan in accordance
                with the terms of the foregoing paragraph.

 (Compl., Ex. 1, § 10.) MSMC argues that, because there are no explicit “representation[s] or

 warrant[ies] set forth in . . . Section 10 made by Accredited with respect to an Accredited

 Mortgage Loan,” the language of the provision does not obligate MSMC to honor Accredited’s

 cure or repurchase obligations.

                In response, Plaintiff asserts that the paragraph incorporates Accredited’s

 representations and warranties (set forth in exhibit 8 to the MLPA) by reference, and imposes

 upon MSMC the affirmative obligation to cure or repurchase defective Accredited loans.

 Plaintiff argues that MSMC’s interpretation of the paragraph would negate any obligation to cure

 or repurchase breaching Accredited loans MSMC might ever have, which would render the

 paragraph a nullity. As Plaintiff explains, “[t]here is no reason to set out a mechanism by which

 Morgan Stanley Capital must repurchase Accredited loans if that mechanism can never be

 invoked.” (Plaintiff’s Memo at p. 10.)

                It is a fundamental principle of New York contract law that “an interpretation of a

 contract that has the effect of rendering at least one clause superfluous or meaningless . . . is not

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 preferred and will be avoided if possible . . . Rather, an interpretation that gives a reasonable and

 effective meaning to all terms of a contract is generally preferred to one that leaves a part

 unreasonable or of no effect.” Galli v. Metz, 973 F.2d 145, 149 (2d Cir. 1992) (internal

 quotation marks and citations omitted). Indeed, MSMC’s reading of the relevant paragraph

 would free it from ever having to cure or repurchase loans on Accredited’s behalf, which would

 render the procedure set out for doing so useless. The MPLA does not by any means

 unambiguously relieve MSMC of liability for Accredited’s breaches of representations and

 warranties. Construing the ambiguity in Plaintiff’s favor for the purposes of this motion

 practice, the Court finds that Plaintiff has pleaded sufficiently that MSMC has an obligation to

 repurchase defective Accredited Loans.3

                Timeliness of the Accredited Claims

                MSMC further argues that, even if it is obligated to cure or repurchase the

 defective Accredited loans, The Trustee’s claims in this respect are time-barred. In this

 connection, MSMC asserts that its cure or repurchase obligation is triggered only if Accredited

 fails within its contractually-allocated 90-day period to cure or repurchase, and that MSMC is

 not in default of any obligation related to Accredited loans unless it fails, within a further 90-day

 period, to cure or repurchase. MSMC seeks dismissal of the Trustee’s Accredited loan-related

 claims because this litigation was commenced prior to the expiration of the cumulative 180-day

 cure period MSMC claims under the contract. While MSMC’s argument may not be entirely

 frivolous, the contractual provisions are not so unambiguous as to warrant dismissal of the

 challenged claims at this juncture.


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               The Court also concludes that Plaintiff has pleaded facts sufficient to plausibly allege
               breaches of Accredited’s Representations and Warranties. (See Compl. ¶¶ 33, 48.)

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 Sufficiency of Plaintiff’s Claims for Specific Performance

                MSMC argues that, as a general matter, Plaintiff has failed to plead sufficiently

 that MSMC breached its representations and warranties with respect to any of the loans in the

 Trust. According to MSMC, because the Complaint “describes only eighteen allegedly defective

 Mortgage Loans in any detail,” Plaintiff has at most stated a claim that is limited to those loans.

 (MSMC Memo at p. 15.) MSMC ignores entirely the information provided in Plaintiff’s pre-

 Complaint breach notice letter, claiming that it was not submitted to the Court and therefore

 should not be considered. These arguments are without merit.

                The Complaint describes the findings of Plaintiff’s loan review in great detail,

 describing the most common types of breaches and explaining what makes them material. (See

 Compl. ¶¶ 52-59.) Courts within this district have found such allegations sufficient to satisfy the

 notice pleading standard. See, e.g., Ace Securities Corp. Home Equity Loan Trust, Series

 2007-HE3 ex rel. HSBC Bank USA, Nat. Ass'n v. DB Structured Products ,Inc., 5 F. Supp. 3d

 543, 560 (S.D.N.Y. 2014) (“Ace Securities”) (“several courts have found that, as a matter of

 pleading sufficiency, a complaint for repurchase need not contain specific allegations regarding

 each loan at issue”) (internal quotation marks and citations omitted). Indeed, a complaint need

 only “give the defendant fair notice of what the . . . claim is and the grounds upon which it

 rests.” Twombly, 550 U.S. at 555. Plaintiff certainly does as much here, detailing several types

 of breaches that it has discovered, and asserting that “the remainder of the Loans, if reviewed,

 would exhibit a [high] defect rate. Indeed, the breaches are so pervasive throughout the Trust

 that Morgan Stanley Capital knew or should have known of those breaches long before the

 Trustee provided notice.” (Compl. ¶ 3.) A complaint “comfortably meets the pleading standard

 by pointing to the repurchase provision in the [relevant contracts] and by alleging the results of

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 [plaintiff’s] loan review, written notices to [defendant] by . . . the Trustee, [defendant]'s

 response, and losses incurred.” MASTR Adjustable Rate Mortgages Trust 2006-OA2 v. UBS

 Real Estate Securities Inc., 12CV7322-HB, 2013 WL 4399210, at *5 (S.D.N.Y. Aug. 15, 2013).

 The Complaint in the instant action satisfies all of these criteria, and therefore cannot be said to

 be deficient.

                  Furthermore, the breach notice letter sent by Plaintiff to MSMC was attached as

 an exhibit to the Complaint, and was relied upon by Plaintiff in setting forth its allegations of

 breach. (Compl., Ex. 3.) As previously noted, in evaluating a Rule 12(b)(6) motion to dismiss,

 the Court may consider “the complaint and any documents attached thereto or incorporated by

 reference and documents upon which the complaint relies heavily.” Building Indus. Elec.

 Contractors Ass’n, 678 F.3d at 187. Thus, the breach notice letter is properly considered here.

 The letter itself enclosed a copy of the original certificateholder’s letter setting out in detail 15

 “schedules” among which the 1,620 allegedly breaching loans were classified, with each

 schedule representing a different type of breach. (See Compl., Ex. 3.) According to Plaintiff,

 the notice letter enclosed a CD cataloguing each of the 1,620 defective loans in the pool, along

 with the corresponding nature of breach for each loan. (See Compl. ¶ 47; Ex. 3; and Plaintiff’s

 Memo at p. 8.) Although the Court was not provided the opportunity to review the CD itself, at

 this phase of the litigation all facts alleged by Plaintiff are taken as true and all reasonable

 inferences are drawn in Plaintiff’s favor. See Harris, 572 F.3d at 71. Assuming that the CD

 contains the information that Plaintiff claims it does, Plaintiff has more than sufficiently alleged

 material breaches with respect to the noticed loans.

                  The Complaint further alleges that MSMC conducted extensive due diligence

 prior to acquiring the loans that it placed into the trust, which Plaintiff claims would have led

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 MSMC to discover the breaches pervading the pool. (See Compl. ¶¶ 20, 61-64.) Courts within

 this district have found such allegations sufficient to support a claim that the defendant actually

 discovered breaches of representations and warranties on its own. See, e.g., Ace Securities, 5 F.

 Supp. 3d at 559-60 (“Taken as true, Plaintiff's allegations that DBSP performed due diligence on

 loan pools rife with defects makes its claims that DBSP discovered breaches of the

 representations and warranties more than plausible.”). While the court in Ace Securities noted

 that “[d]iscovery may reveal that [the defendant] was, in fact, unaware of certain breaches,

 meaning that its obligation to cure them or repurchase the defective loans would be triggered

 only upon notice,” id. at 564, it held that, because “the Court [was] required to accept Plaintiff's

 allegations of widespread breaches as true,” the plaintiff had adequately pleaded the defendant’s

 own discovery of breaching loans. Plaintiff has clearly met that same standard here.

                In light of the foregoing, the Court denies MSMC’s motion insofar as it seeks

 dismissal of Plaintiff’s claims for specific performance as inadequate.


 Plaintiff’s Claims for Compensatory, Consequential and/or Rescissory Damages

                Plaintiff seeks an award of “compensatory, consequential, and/or rescissory

 damages against Morgan Stanley Capital in an amount to be proven at trial.” (See Compl.,

 “Prayer for Relief.”) Plaintiff claims, inter alia, that it is entitled to seek such damages as a

 result of MSMC’s breach of its obligation to notify the other parties of defective loans and

 breach of its repurchase obligation, which Plaintiff characterizes as causes of action separate

 from its cause of action for breach of representations and warranties. MSMC moves to dismiss

 the Complaint to the extent that Plaintiff seeks any damages beyond “payment of the repurchase

 price for any breaching mortgage loans.” (See MSMC Reply Memo at p. 4.) MSMC invokes


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 the “sole remedy” provision of the MLPA, which states that “the obligations of [MSMC] to cure,

 purchase or substitute a qualifying Replacement Mortgage Loan shall constitute the . . . Trustee’s

 . . . sole and exclusive remedy under this Agreement.” (MLPA § 10.) Such sole remedy

 provisions are valid and enforceable under New York law. See, e.g., Net2Globe Int’l, Inc. v.

 Time Warner Telecom of N.Y., 273 F. Supp. 2d 436, 449-50 (S.D.N.Y. 2003) (“The New York

 Court of Appeals has declared that [a] limitation on liability provision in a contract represents

 the parties’ Agreement on the allocation of risk of economic loss in the event that the

 contemplated transaction is not fully executed, which the courts should honor”) (internal

 quotation marks and citation omitted).

                Plaintiff contends that MSMC’s breach of its repurchase obligation and its

 obligation to notify all parties of the presence of breaching loans constitute distinct causes of

 action to which the sole remedy provision does not apply, under which compensatory,

 consequential and/or rescissory damages may be sought, and has pleaded such causes of action

 in Counts Two and Three of the Complaint. However, courts in this district have consistently

 held that “the failure to cure or repurchase does not constitute an independent breach of the

 contract under New York law so as to vitiate the sole remedy provision.” Citigroup Mortg. Loan

 Trust 2007-AMC3 ex rel. U.S. Bank Nat. Ass’n v. Citigroup Global Markets Realty Corp., No.

 13CV2843-GBD, 2014 WL 1329165, at *5 (S.D.N.Y. Mar. 31, 2014). See also Ace Securities,

 5 F. Supp. 3d at 552 (“Plaintiff contends that DBSP’s failure to repurchase loans that it was

 obligated to repurchase constitutes an independent breach of contract. The Court disagrees.”).

 Indeed, as MSMC argues, “the notice/cure/repurchase protocol is remedial and cannot constitute

 a basis for an independent breach separate and apart from the alleged underlying breaches of

 representations and warranties.” (MSMC Reply Memo at p. 4.) Such a protocol “merely

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 provides for a remedy in the event of a breach.” Walnut Place LLC v. Countrywide Home

 Loans, Inc., 96 A.D.3d 684, 685 (1st Dep’t 2012). Thus, MSMC’s “alleged failure to comply

 with its cure or repurchase obligations does not give rise to a separate breach of contract at the

 time of refusal because New York Law . . . does not recognize pre-suit remedial provisions as

 constituting separate promises which can serve as the basis for independent causes of action.”

 Lehman XS Trust, Series 2006-4N v. GreenPoint Mortg. Funding Inc., 991 F. Supp. 2d 472, 478

 (S.D.N.Y. 2014) (internal quotation marks and citation omitted). It follows that Counts Two and

 Three of the Complaint fail to state valid causes of action and must be dismissed.

                The Complaint contains other references to compensatory, rescissory and

 consequential damages, all of which MSMC argues are precluded by the sole remedy provision.

 Plaintiff asserts that the sole remedy provision of the MLPA, as applicable to its claim for breach

 of representations and warranties, is unenforceable as a result of MSMC’s “gross negligence,”

 opening the door to a potential damages award. (Opposition Memo at p. 21.) Under New York

 law, contractual provisions limiting liability “will not preclude recovery in . . . breach of contract

 where the losses are the result of gross negligence.” Gold Connection Disc. Jewelers, Inc. v.

 Am. Dist. Tel. Co., 212 A.D.2d 577, 578 (2d Dep’t 1995).

                It is not necessary at this early juncture to explore the circumstances, if any, under

 which the sole remedy provision might be held void in relation to gross negligence. “[S]pecific

 performance is an equitable remedy, and ‘where the granting of equitable relief appears to be

 impossible or impracticable, equity may award damages in lieu of the desired equitable

 remedy.’” Ace Securities, 5 F. Supp. 3d at 554 (quoting Doyle v. Allstate Ins. Co., 1 N.Y.2d

 439, 443 (1956)). As the Ace Securities Court noted, many courts have awarded money

 damages, notwithstanding sole remedy provisions, “equivalent to what the defendant would pay

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 were performance possible” in situations in which properties have been foreclosed or specific

 aspects of the prescribed remedy mechanism are no longer feasible. Ace Securities, 5 F. Supp.

 3d at 554.

                Defendant’s motion is therefore denied, without prejudice, to the extent it seeks to

 strike claims for types of relief other than those specified in the sole remedy provision.


 Breach of the Implied Covenant of Good Faith and Fair Dealing

                In addition to its breach of contract claims, Plaintiff asserts a claim for breach of

 the implied covenant of good faith and fair dealing. (See Compl. ¶¶ 107-11.) However, “New

 York law . . . does not recognize a separate cause of action for breach of the implied covenant of

 good faith and fair dealing when a breach of contract claim, based upon the same facts, is also

 pled.” Harris v. Provident Life and Acc. Ins. Co., 310 F.3d 73, 81 (2d Cir. 2002). As MSMC

 points out, the “duty of good faith and fair dealing is implicit in every contract. However, a

 breach of that duty will be dismissed as redundant where the conduct allegedly violating the

 implied covenant is also the predicate claim for breach of covenant of an express provision of

 the underlying contract.” In re Hougibant Inc., 914 F. Supp. 964, 989 (S.D.N.Y. 1995).

                Plaintiff bases its claim for breach of the covenant of good faith and fair dealing

 on precisely the same factual allegations upon which its breach of contract claim is based. In

 light of this, and because there is no dispute as to the existence of the contracts or as to whether

 Plaintiff’s claims fall within the scope of these contracts, the Court grants MSMC’s motion to

 dismiss Plaintiff’s claim for breach of the covenant of good faith and fair dealing as duplicative

 of Plaintiff’s breach of contract claim.




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                                            CONCLUSION

                The Court grants Defendant MSMC’s motion insofar as it seeks dismissal of

 Counts Two, Three and Four of the Complaint. The Court denies MSMC’s motion in all other

 respects. Plaintiff’s request for leave to amend the Complaint in response to the Court’s decision

 on this motion practice is denied, Plaintiff having chosen to oppose this motion rather than seek

 leave to amend the Complaint in response to it. (See ECF Docket Entry No. 21 and Subdivision

 A.2.b.(iii) of the Individual Practices Rules of the undersigned.)

                This Memorandum Opinion and Order resolves Docket Entry Number 18. The

 initial pre-trial conference in this case is scheduled for May 15, 2015, at 11:00 a.m. The parties

 must consult in advance of the conference and prepare a joint submission in accordance with the

 requirements of the Initial Conference Order. (See Docket Entry No. 3.)

                SO ORDERED.


 Dated: New York, New York
        April 3, 2015

                                                               /s/ Laura Taylor Swain
                                                              LAURA TAYLOR SWAIN
                                                              United States District Judge




DBMSMTD.WPD    VERSION 4/3/15                                                                         16
